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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                            )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )   Case No. 1:15-cr-00159-TWP-MJD-01
                                                       )
  JARED S FOGLE,                                       )
                                                       )
                                Defendant.             )


         ENTRY DIRECTING TREATMENT OF MOTION TO WITHDRAW PLEA

         “Any motion filed in the district court that imposed the sentence, and substantively within

  the scope of 28 U.S.C. § 2255, is a motion under § 2255, no matter what title the prisoner plasters

  on the cover.” Melton v. United Staets, 359 F.3d 855, 857 (7th Cir. 2004). Because Defendant’s

  motion to withdraw plea due to clear error, seeks to alter the amended judgment of conviction

  entered on August 25, 2017, this motion must be treated as a motion seeking relief pursuant to 28

  U.S.C. § 2255.

         The clerk shall therefore open one new civil action in the Indianapolis Division and re-

  docket the motion to withdraw plea of guilty, dkt [125], as the defendant’s motion for relief

  pursuant to 28 U.S.C. § 2255. The Nature of Suit of the new civil action will be 510 and the

  Cause of Action will be 28:2255.

         A copy of this Entry shall likewise be docketed in the newly opened action.
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         Insofar as filed in the above criminal action, the motion, dkt [125], is denied without

  prejudice.

         IT IS SO ORDERED.



  Date: 2/26/2018



  Distribution:

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